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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

ATLANTIC CASUALTY INSURANCE         §
COMPANY,                            §
                                    §
     Plaintiff,                     §
                                    §
V.                                  §    CIVIL ACTION NO. 3:19-CV-01618
                                    §
TAYLORMADE HEAT & AIR, LLC,         §
CHRISTINE GANCARZ, HARRY            §
HARRISON, STEVE BOTTUM,             §
CLINT RACHAL, GENA RACHAL,          §
LARRY WALTON, AMAR ALI,             §
MICHAEL BUCHANAN, DEBBIE            §
CARSON, JANE EDWARDS, BRIAN         §
TOLIVER, PHILLIP ST. GEORGE,        §
SALLY YAMINI, RICHIE BOYD,          §
RHONDA JONES, M CENTRAL             §
RESIDENCES CONDOMINIUM              §
ASSOCIATION, INC., M CENTERAL       §
MASTER CONDOMINIUM                  §
ASSOCAITON, INC. AND GREAT          §
AMERICAN INSURANCE COMPANY,         §
                                    §
     Defendants.                    §

            DEFENDANT TAYLORMADE HEAT & AIR, LLC’S
         REPLY BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
     PLAINTIFF’S COMPLAINT SEEKING DECLARATORY JUDGMENT

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        Defendant Taylormade Heat & Air, LLC ("Taylormade") hereby submits its reply brief in

support of its Motion to Dismiss Plaintiff Atlantic Casualty Insurance Company’s (“Atlantic

Casualty”) Complaint Seeking Declaratory Judgment and respectfully states as follows:

I.      Atlantic Casualty Failed to Demonstrate Present Harm or Significant Possibility of
        Future Harm

        To prove a declaratory judgment action is justiciable, a plaintiff must establish “an actual

present harm or a significant possibility of future harm.” 1 In determining whether a case is ripe

for declaratory judgment purposes, a court must first consider the hardship to the parties of

withholding court consideration.2 “The Supreme Court has found hardship to inhere in legal

harms, such as the harmful creation of legal rights or obligations; practical harms on the interests

advanced by the party seeking relief; and the harm of being ‘force[d] ... to modify [one's] behavior

in order to avoid future adverse consequences.’”3 Although Atlantic Casualty concedes that it has

the burden to prove hardship without the Court’s intervention, it made no effort to meet its burden.

        Instead, Atlantic Casualty simply states that the unit owners and their insurers have made

a claim. In this regard, Atlantic Casualty attaches to its response a “Subrogation Notice and

Preservation Request” letter from Great American Insurance Company (“Great American”) which

is addressed to Taylormade and states that the letter is a notice “of a potential claim.”4 Atlantic


1
        Roark & Hardee LP v. City of Austin, 522 F.3d 533, 542 (5th Cir. 2008) (citation and internal quotation
marks omitted)
2
        Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 715 (5th Cir. 2012)
3
         Texas v. United States, 497 F.3d 491, 499 (5th Cir. 2007) (quoting Ohio Forestry Ass'n v. Sierra Club, 523
U.S. 726, 734, 118 S.Ct. 1665, 140 L.Ed.2d 921 (1998)); see e.g. Darwin Select Ins. Co. v. Laminack, Pirtle &
Martines, L.L.P., H-10-5200, 2011 WL 2174970, at *2 (S.D. Tex. June 3, 2011) (finding harm because the insurer
has immediate rights and duties without exhaustion of the SIR); Carolina Cas. Ins. Co. v. Tutle & Tutle Trucking,
Inc., 3:09-CV-2377, 2010 WL 1459207, at *1 (N.D. Tex. Apr. 12, 2010) (finding harm where the insurer faced a
choice of either making a contribution to a settlement amount despite a determination of its duty to indemnify or
refusing contribution and potentially be subjected to a suit for bad faith).
4
        See Doc 17, ACIC App. 006 (Emphasis Added).


                                                        2
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Casualty also attaches an email from counsel for Great American which states that Great

American, as of August 5, 2019, has not made any payments to the homeowners.5 Atlantic

Casualty further attaches the notice of claim submitted by Taylormade. 6

         None of these documents, however, establish any present harm or the possibility of

significant harm in the future because they do not trigger Atlantic Casualty’s duty to defend or

indemnify Taylormade.7 In fact, Atlantic Casualty has not identified any harm in waiting to bring

this action until after a lawsuit is filed against Taylormade. Atlantic Casualty’s failure to meet its

burden is not surprising because there is no hardship to Atlantic Casualty.

         On the other hand, there is significant harm to Taylormade to defend this prematurely filed

declaratory judgment action. Atlantic Casualty would have the parties litigate the facts of the

underlying lawsuit in this “declaratory judgment” action, including Taylormade’s liability. This

would mean that Taylormade would pay for its own defense without an adjudication of Atlantic

Casualty’s duty to defend. If the Court were to find a duty to defend, there could possibly be

nothing left for Atlantic Casualty to defend because the liability facts would already be established

in this declaratory judgment action. This is a thinly veiled attempt by Atlantic casualty—in




5
         See Doc 17, ACIC App. 002. This means that Great American currently has no subrogation interest to
enforce against Taylormade or its insurer.
6
         See Doc 17, ACIC App. 004-005.
7
           Atlantic Casualty also attaches an email from Taylormade to the homeowners arguing in bad faith that the
email conclusively establishes the lability of the insured and the damages sustained by the homeowners without the
necessity of a judicial determination. Taylormade vehemently objects to the mischaracterization of said email.
Nevertheless, Atlantic Casualty ignores its fiduciary duties to its insured and makes an argument that has no basis in
fact or law. VRV Dev. L.P. v. Mid–Continent Cas. Co., 630 F.3d 451, 459 (5th Cir.2011) (“[A]n insurer's duty to
indemnify typically can be resolved only after the conclusion of the underlying action.”); Colony Ins. Co. v. Peachtree
Construction, Ltd., 647 F.3d 248 (5th Cir. 2011)(the duty to indemnify is triggered by the actual facts establishing
liability and damages proven at trial). If the shoe were on the other foot, we are confident that Atlantic Casualty would
never argue that its duty to indemnify is triggered by an email sent by the insured without adjudication of the facts or
damages at trial. Instead, this argument is further evidence of Atlantic Casualty’s bad faith in the handling of
Taylormade’s claim.


                                                           3
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apparent bad faith—to improperly avoid its duty to defend and force Taylormade to pay for its

defense.

II.      Atlantic Casualty’s Duty to Defend and Indemnify is Not Ripe For Judicial Decision

         Ignoring precedence, Atlantic Casualty incorrectly argues that the eight-corners rule is a

Texas State law and is irrelevant to the determination of the ripeness of this declaratory judgment

suit.8 In determining ripeness, the Court must decide the fitness of the issues for judicial

consideration.9 A declaratory judgment action is generally ripe for consideration if the remaining

questions are purely legal ones and additional factual development is unnecessary.10

         Atlantic Casualty seeks a declaration that it does not owe a duty to defend or indemnify

Taylormade. In deciding whether Atlantic Casualty’s coverage obligation is purely a legal

question or one that requires additional factual development, the court must look at substantive

law. Because this Court’s jurisdiction is based on diversity of citizenship, the Court must look at

the substantive law of Texas.11 The eight-corners rule is, therefore, relevant to the Court’s decision

on whether Atlantic Casualty’s coverage obligation is ripe for adjudication at this time. 12

         Under the eight-corners rule, further factual development is necessary for the Court to

determine Atlantic Casualty’s duty to defend because there is no suit against the insured, and,



8
         Doc. 16, Br. at 7. Atlantic Casualty also takes issue with Taylormade reference to an Exhibit A to Atlantic
Casualty’s complaint. Atlantic Casualty’s complaint, however, quotes several sections of the policy references Exhibit
A. Doc. 1, p. 6, fn. 1. Counsel was unaware that Atlantic Casualty failed to attach the insurance policy as an exhibit
as represented to the Court.
9
        Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 715 (5th Cir. 2012) (quoting New Orleans Pub. Serv., Inc.
v. Council of New Orleans, 833 F.2d 583, 586 (5th Cir.1987)).
10
         Id.
11
        Colony Ins. Co. v. Peachtree Construction, Ltd., 647 F.3d 248 (5th Cir. 2011) (citing Erie R.R. Co. v.
Tompkins, 304 U.S. 64, 78, 58 S.Ct. 817, 82 L.Ed. 1188 (1938)); Tex. Indus., Inc. v. Factory Mut. Ins. Co., 486 F.3d
844, 846 (5th Cir.2007).
12
         See Pine Oak Builders, Inc. v. Great Am. Lloyds Ins. Co., 279 S.W.3d 650, 654 (Tex.2009) (An insurer’s
duty to defend is determined solely by the facts alleged in the petition and the terms of the policy); Columbia Cas. Co.
v. Georgia & Florida RailNet, Inc., 542 F.3d 106, 111 (5th Cir. 2008).


                                                           4
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therefore, no allegations to determine the duty to defend. As this Court recognized in BSA v.

National Fire Insurance Company, a complaint seeking a declaration of an insurer’s duty to defend

cannot present an actual controversy when the insured faces an unfiled prospective lawsuit.13 In

addition, further factual development is required regarding Atlantic Casualty’s duty to indemnify

because Taylormade’s liability has not been adjudicated and made fixed and certain. 14 Without an

adjudicated dispute, the Court cannot determine whether Atlantic Casualty has a duty to

indemnify.15 Therefore, Atlantic Casualty’s coverage obligation is not fit for determination at this

time.16

IV.       CONCLUSION

          Atlantic Casualty’s declaratory judgment action is not ripe or justiciable because it seeks a

declaration that it has no duty to defend or indemnify a lawsuit which has not yet even been filed.

Accordingly, Taylormade requests that this Honorable Court grant its motion to dismiss and that

Atlantic Casualty’s action be dismissed. Taylormade further requests all other relief, in law and

in equity, to which it may justly be entitled.




13
         3:15-CV-2420, 2016 WL 495599, at *6 (N.D. Tex. February 8, 2016); see also Am. Const. Benefits Group,
LLC v. Zurich Am. Ins. Co., 3:12-CV-2726, 2014 WL 144974, at *3 (N.D. Tex. Jan. 15, 2014) ("[W]ithout an
underlying lawsuit, there is no third-party pleading on which the court can predicate its judgment.")
14
          In re State Line Fireworks, Inc., 387 S.W.3d 27, 32 (Tex. App. 2012, no pet.).
15
          BSA v. Nat’l Fire Ins. Co., 3:15-CV-2420, 2016 WL 495599 at *7 (N.D. Tex. February 8, 2016).
16
         It is important to note that Atlantic Casualty has cited no Texas state or federal opinion to support its
proposition that its coverage obligation is ripe for judicial determination before an underlying lawsuit is filed and
without demonstrating hardship.


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                                             Respectfully submitted,


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                                             ATTORNEYS FOR DEFENDANT,
                                             TAYLORMADE HEAT & AIR, LLC


                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF on this the 27th day of August, 2019 to:

       Camille Johnson
       William C. Vanderbilt
       Savrick, Schumann, Johnson, McGarr, Kaminski, Shirley, LLP
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                                             s/ Nejat A. Ahmed
                                             Nejat A. Ahmed




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